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                         UNITED STATES COURT OF APPEALS
                              FOR THE THIRD CIRCUIT
                                   ____________

                              Nos. 15-4039, 16-1654, 16-1655
                                      ____________

                      IN RE: PAULSBORO DERAILMENT CASES

                    ALICE BREEMAN, S.B.-R., A.B.-R. AND H.B.-R.,
                                              Appellants in 15-4039
                             BRYAN EVERINGHAM,
                                              Appellant in 16-1654
                               RYAN RAGONE,
                                              Appellant in 16-1655
                                ____________

                      On Appeal from the United States District Court
                                 for the District of New Jersey
                (D. N.J. Nos. 1-12-cv-07468, 1-13-cv-00784, 1-13-cv-03350,
                                         1-13-cv-07410)
                         District Judge: Honorable Robert B. Kugler
                                         ____________

                                         Argued
                                     December 6, 2016

               Before: FISHER*, KRAUSE and MELLOY**, Circuit Judges.
                                   ____________

                                        JUDGMENT
                                       ____________




        *
          Honorable D. Michael Fisher, United States Circuit Judge for the Third Circuit,
  assumed senior status on February 1, 2017.
        **
           Honorable Michael J. Melloy, Senior Circuit Judge, United States Court of
  Appeals for the Eighth Circuit, sitting by designation.
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          This cause came on to be heard on the record from the United States District Court
  for the District of New Jersey and was argued by counsel on December 6, 2016. On
  consideration whereof, it is now hereby

          ORDERED and ADJUDGED by this Court that the appeals in Case Nos. 15-4039,
  16-1654, and 16-1655 are dismissed without prejudice for lack of subject matter
  jurisdiction. All of the above in accordance with the opinion of this Court.

        Costs shall not be taxed.

                                           ATTEST:



                                           s/Marcia M. Waldron
  Dated: August 28, 2017                   Clerk
